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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


UNITED STATES OF AMERICA,                    )       CASE NO.: 1:15CV1046
                                             )
                      Plaintiff,             )       JUDGE OLIVER
                                             )
v.                                           )
                                             )
CITY OF CLEVELAND,                           )       JOINT MOTION AND
                                             )       MEMORANDUM FOR
                      Defendant.             )       ENTRY OF CONSENT DECREE

I.     Introduction

       Plaintiff the United States of America and Defendant City of Cleveland (“City”)

(collectively “the Parties”) have entered into a Settlement Agreement (“Agreement”) and jointly

move the Court to approve and enter the attached Agreement as an Order of the Court. The

Agreement resolves litigation being initiated by the United States with the concurrent filing of a

Complaint brought under the authority of 42 U.S.C. § 14141 (“Section 14141”).

       The Complaint filed by the United States alleges that the Cleveland Division of Police

(“CDP”) engages in a pattern or practice of using excessive force against individuals and

engages in unlawful searches and seizures of individuals, both in violation of the Fourth

Amendment. The Parties agree that the allegations raise issues of concern that should be

addressed. In agreeing to address these important issues, the City is not agreeing with the

allegations. With this Agreement the Parties recognize that the City has committed to
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implementing significant reforms that are intended to improve public confidence in law

enforcement and to ensure that police services are delivered to the Cleveland community in a

manner that complies with constitutional standards.

   II.      Legal Standard

         Public policy favors settlement because “litigation is avoided, costs of litigation are

contained, and the legal system is relieved of the burden of resolving the dispute with the

resulting effect of alleviating an already overcrowded docket.” Goodyear Tire & Rubber Co. v.

National Union Ins. Co. of Pittsburgh, No. 5:08CV1789, 2011 WL 5024823, at *3 (N.D. Ohio

Sept. 19, 2011) aff’d sub nom Goodyear Tire & Rubber Co. v. Nat’l Union Fire Ins. Co. of

Pittsburgh, PA, 694 F.3d 781 (6th Cir. 2012) (quoting Triplett v. Rosen, Nos. 92AP–816 &

92AP–817, 1992 WL 394867, at *18–19 (10th Dist. Dec. 29, 1992)).

         When considering whether to approve and enter a settlement agreement, the court should

assess whether the agreement is fair, adequate, reasonable, consistent with the public interest,

and consistent with the purposes of any statute at issue. United States v. Lexington-Fayette

Urban Cnty. Gov’t, 591 F.3d 484, 489 (6th Cir. 2010) (citing United States v. Cnty. of Muskegon,

298 F.3d 569, 580-81 (6th Cir. 2002) and United States v. Akzo Coatings of America, Inc., 949

F.2d 1409, 1426 (6th Cir. 1991)). Whether an agreement protects the public interest is a key

consideration when determining whether a settlement agreement is fair, reasonable, and

adequate. See Akzo, 949 F.2d at 1435 (citing Acushnet River & New Bedford Harbor:

Proceedings re Alleged PCB Pollution, 712 F.Supp. 1019, 1028 (D. Mass.1989)). The United

States and the City have entered into an Agreement that they believe is fair, adequate,

reasonable, and consistent with the public interest.




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III. Discussion

       A.      The Settlement Agreement is consistent with Section 14141 and the public
               objectives of the law.

       Section 14141 prohibits law enforcement officers from engaging in a pattern or practice

“that deprives persons of rights, privileges, or immunities secured or protected by the

Constitution or laws of the United States.” Pursuant to the authority of the Statute, the

Department of Justice conducted an investigation of the Cleveland Division of Police over a

period of 21 months following the request of Cleveland Mayor Frank Jackson. The investigation

was conducted with the cooperation of the City and CDP. The results of that investigation were

shared by DOJ with the City and formed the basis for extensive negotiations that resulted in the

Agreement that has been placed before this Court.

       Following its investigation, DOJ issued a report that concluded the Department had

reasonable cause to believe that CDP and its officers had engaged in a pattern or practice of

exercising excessive force in violation of the Constitution and laws of the United States. DOJ’s

investigative findings are contained in its December 4, 2014 Findings Letter, a copy of which is

attached hereto for reference by the Court. While disputing the accuracy of the conclusions

reached by DOJ in its Findings Letter, the City entered into negotiations with the Department to

address the findings and concerns raised by the investigation. The fact that the City disputes the

accuracy of these findings does not preclude entry of the Settlement Agreement as an order of

the Court. See, e.g., United States v. Armour & Co., 42 U.S. 673, 682 (1971) ("Because the

defendant has, by the decree, waived his right to litigate the issues raised...the conditions upon

which he has given that waiver must be respected...."); Carson v. American Brands, Inc., 450

U.S. 79, 88 (1981) (The parties do not need to admit liability, because doing so "den[ies] the

parties their right to compromise their dispute on mutually agreeable terms."); Cotton v. Hinton,



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559 F.2d at 1326, 1330 ("It cannot be overemphasized that neither the trial court in approving the

settlement nor this Court in reviewing that approval have the right or the duty to reach any

ultimate conclusions on the issues of fact and law which underlie the merits of the dispute.").

       The proposed Agreement before the Court is consistent with the public interest because it

will better ensure that police services provided by CDP in Cleveland are delivered in a manner

that is both constitutional and effective. Through the proposed Agreement, the City commits to

develop and implement new policies, training, and practices throughout CDP in the areas of

community engagement, use of force, crisis intervention, search and seizure, accountability and

supervision, transparency and oversight, officer assistance and support, and policies.

       The Agreement is appropriate in resolving the issues raised between the City and DOJ

because voluntary compliance through a negotiated resolution and entry of a consent decree is

more likely to accomplish agreed upon goals than will orders imposed at the end of bitter and

protracted litigation. See, Akzo, 949 F.2d 1409, 1436 (presumption in favor of voluntary

settlement). Indeed, the DOJ’s investigation and the Parties’ subsequent negotiations already

have set in motion a process of reform measures within CDP. Throughout this process, the City,

CDP leadership, and many CDP police officers have expressed a desire to improve the

performance of CDP in its effort to interact with and protect the safety of the community. The

proposed Agreement will assist both the City as a whole and CDP officers in achieving that goal.

       The Agreement establishes the basis for undertaking reform efforts within CDP for the

express purpose of better promoting effective community engagement, effective policy guidance,

better training, and closer supervision. The Agreement will provide for broader officer support

systems and will establish improved mechanisms to help ensure that accountability and

investigations of any misconduct are both fair and constructive. Perhaps most important, the




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Settlement Agreement seeks to address and substantively improve the relationship between CDP

and the diverse communities being policed, ultimately thereby making the City of Cleveland a

safer place to live and work. Settling this dispute without protracted litigation thus allows the

City, DOJ, and CDP officers to implement the shared goal of agreed upon reforms within CDP

without unnecessary delay.

       B.      The Settlement Agreement is fair, adequate and reasonable.

       DOJ’s investigation and the Parties’ subsequent negotiations and outreach efforts provide

evidence that the negotiated Agreement is fair, adequate, and reasonable. For the past six

months, the City of Cleveland and the Department of Justice have worked together to ensure that

a negotiated Agreement could be achieved that addresses areas of concern raised by DOJ’s

investigative findings. The Agreement includes provisions that have been extensively discussed

and agreed upon in an effort to create sustained and comprehensive reforms.

       In drafting this Agreement, which takes into consideration and effectively reflects the

thoughts and concerns of the community, the Parties solicited and received input from police

officers, the various police unions, and community members and leaders, including

representatives from the faith-based communities, mental health professionals, advocates for the

homeless, representatives of the business and philanthropic communities, and civil rights

organizations. The City and DOJ jointly organized and participated in town hall meetings. DOJ

representatives attended community and organizational meetings that were convened following

the investigation. Cleveland’s City Council solicited input from Cleveland residents by

conducting “listening tours,” which DOJ also attended. DOJ and the City have accepted

numerous comments and suggestions from many members of the community via a dedicated

phone line, email address, and mail. The Parties received and considered during the course of




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their negotiations at least 30 written suggested plans from all segments of the community.

       Guided by this input, the Parties negotiated in good faith and have reached agreement

upon reforms to existing policies, practices, procedures, training, oversight, and accountability

structures of CDP that sufficiently address the concerns of the United States as expressed in the

allegations of the Complaint. The proposed Agreement reflects broad input from many

individuals representing a wide cross-section of Cleveland’s diverse residential and business

communities, and includes input from police officers and supervisors, along with advocates for

the mentally ill and homeless.

       Further, the nature and extent of the good faith negotiations that were undertaken in

arriving at this Settlement Agreement provide the Court with additional assurance that it is fair,

adequate, and reasonable to remediate the violations alleged in the Complaint, despite the

absence of ongoing litigation. While courts must approve consent decrees, they do not “inquire

into the precise legal rights of the respective parties.” United States v. City of Jackson, Miss.,

519 F.2d 1147, 1151 (5th Cir. 1975); Williams v. Vukovich, 720 F.2d, 909, 920 (6th Cir. 1983)

(“A court has no occasion to resolve the merits of the disputed issues or the factual

underpinnings of the various legal theories advanced by the parties.”). Instead, in determining

that the Settlement Agreement is fair, adequate and reasonable, the Court may rely on the

judgment of experienced counsel for the parties. U.S. v. Lexington-Fayette Urban County

Government, 591 F.3d 484, 489 (6th Cir. 2010).

       Counsel for the Parties to this Settlement Agreement are experienced litigators who, for

many months, engaged in a process of compromise in which “in exchange for the savings of cost

and elimination of risk, the parties each give up something they might have won had they

proceeded with litigation.” Armour & Co., 402 U.S. at 681. In reaching negotiated resolution,




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both DOJ and the City took steps to guarantee that the concerns of all interested parties were

considered in reaching this Agreement and the shared goal of ensuring constitutional policing by

CDP.

       Counsel for both Parties are intimately familiar with the practices of CDP and spent long

hours negotiating the details of the Settlement Agreement. Both Parties consulted with subject

matter experts and CDP leadership to ensure that each remedial measure in the Settlement

Agreement is tailored to address effective and sustainable reforms that address the concerns

raised by the Department of Justice’s investigation and that can be reasonably implemented and

measured. Thus, the adversarial posture, combined with the respective duties of these

government agencies towards those they represent, and the good faith, extensive negotiations

between seasoned litigators, provides further assurance that the Settlement Agreement is fair,

adequate, and reasonable, and may be relied upon by the Court in so finding. See Lexington-

Fayette, 591 F.3d at 489; see also, Akzo Coatings, 949 F.2d at 1436.

IV. Conclusion

       The City of Cleveland and the Department of Justice share the same interest in protecting

the constitutional rights of members of the Cleveland community and have worked cooperatively

over the course of six months to achieve this Settlement Agreement. The Settlement Agreement

resolves between these parties all issues identified in the Department of Justice’s investigation of

the Cleveland Division of Police. Because the proposed Settlement Agreement is fair, adequate,

and reasonable, and because it promotes the public interest and the purposes underlying Section

14141, the Parties jointly and respectfully move this Court to approve and enter the Settlement

Agreement in its entirety as an Order of the Court.




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                                               Respectfully submitted,



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